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11
                        UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13
     TENLEY HARDIN, individually and ) Case No.
14   on behalf of all others similarly )
15   situated,                         ) CLASS ACTION
                                       )
16
     Plaintiff,                        ) COMPLAINT FOR VIOLATIONS
17                                     ) OF:
18          vs.                        )
                                       ) 1. NEGLIGENT VIOLATIONS OF
19                                          THE TELEPHONE CONSUMER
                                       )    PROTECTION ACT [47 U.S.C.
20   REGAL CASH GROUP, INC.; DOES )         §227 ET SEQ.]
     1 through 10, inclusive,          ) 2. WILLFUL VIOLATIONS OF THE
21                                          TELEPHONE CONSUMER
                                       )    PROTECTION ACT [47 U.S.C.
22   Defendant(s).                     )    §227 ET SEQ.]
23
                                       )
                                       ) DEMAND FOR JURY TRIAL
24
           Plaintiff, TENLEY HARDIN (“Plaintiff”), on behalf of herself and all
25
     others similarly situated, alleges the following upon information and belief based
26
     upon personal knowledge:
27
                                NATURE OF THE CASE
28
           1.    Plaintiff brings this action for herself and others similarly situated


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 1   seeking damages and any other available legal or equitable remedies resulting
 2   from the illegal actions of REGAL CASH GROUP, INC. (“Defendant”), in
 3   negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular
 4   telephone in violation of the Telephone Consumer Protection Act, 47. U.S.C. §
 5   227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 6                                JURISDICTION & VENUE
 7           2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 8   a resident of California, seeks relief on behalf of a Class, which will result in at
 9   least one class member belonging to a different state than that of Defendant, a
10   New York corporation. Plaintiff also seeks up to $1,500.00 in damages for each
11   call in violation of the TCPA, which, when aggregated among a proposed class in
12   the thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
13   Therefore, both diversity jurisdiction and the damages threshold under the Class
14   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
15   jurisdiction.
16           3.      Venue is proper in the United States District Court for the Central
17   District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
18   business within the state of California and Plaintiff resides within this District.
19                                          PARTIES
20           4.      Plaintiff, TENLEY HARDIN (“Plaintiff”), is a natural person
21   residing in Venice, California and is a “person” as defined by 47 U.S.C. § 153
22   (39).

23           5.      Defendant, REGAL CASH GROUP, INC. (“Defendant”), is a small

24   business loan company, and is a “person” as defined by 47 U.S.C. § 153 (39).

25
             6.      The above named Defendant, and its subsidiaries and agents, are

26
     collectively referred to as “Defendants.” The true names and capacities of the

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     Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are

28
     currently unknown to Plaintiff, who therefore sues such Defendants by fictitious



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 1   names. Each of the Defendants designated herein as a DOE is legally responsible
 2   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
 3   the Complaint to reflect the true names and capacities of the DOE Defendants
 4   when such identities become known.
 5         7.      Plaintiff is informed and believes that at all relevant times, each and
 6   every Defendant was acting as an agent and/or employee of each of the other
 7   Defendants and was acting within the course and scope of said agency and/or
 8   employment with the full knowledge and consent of each of the other Defendants.
 9   Plaintiff is informed and believes that each of the acts and/or omissions
10   complained of herein was made known to, and ratified by, each of the other
11   Defendants.
12                              FACTUAL ALLEGATIONS
13         8.      Beginning in or around July of 2018, Defendant contacted Plaintiff
14   on her cellular telephone ending in -248,0 in an effort to sell or solicit its services.
15         9.      Defendant called Plaintiff on her cellular telephone from phone
16   numbers confirmed to belong to Defendant, including without limitation (516)
17   453-6908.
18         10.     Defendant used an “automatic telephone dialing system”, as defined
19   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to sell or solicit its
20   business services.
21         11.     Defendant’s calls constituted calls that were not for emergency
22   purposes as defined by 47 U.S.C. § 227(b)(1)(A).

23         12.     Defendant’s calls were placed to telephone number assigned to a

24   cellular telephone service for which Plaintiff incurs a charge for incoming calls

25
     pursuant to 47 U.S.C. § 227(b)(1).

26
           13.     Plaintiff is not a customer of Defendant’s services and has never

27
     provided any personal information, including her cellular telephone number, to

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     Defendant for any purpose whatsoever.



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 1         14.    Defendant never received Plaintiff’s “prior express consent” to
 2   receive calls using an automatic telephone dialing system or an artificial or
 3   prerecorded voice on her cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
 4         15.    Further, Plaintiff requested for Defendant to stop calling Plaintiff
 5   during one of the initial calls from Defendant, thus revoking any prior express
 6   consent that had existed and terminating any established business relationship that
 7   had existed, as defined under 16 C.F.R. 310.4(b)(1)(iii)(B).
 8         16.    Plaintiff alleges upon information and belief, including without
 9   limitation her experiences as recounted herein, especially her experience of being
10   called despite Defendant’s lack of express consent to call her, that Defendant
11   lacks reasonable policies and procedures to avoid the violations of the Telephone
12   Consumer Protection act herein described.
13                              CLASS ALLEGATIONS
14         17.    Plaintiff brings this action individually and on behalf of all others
15   similarly situated, as a member of two proposed class (hereafter, jointly, “The
16   Classes”). The class concerning the ATDS claim for no prior express consent
17   (hereafter “The ATDS Class”) is defined as follows:
18
                  All persons within the United States who received any
19                solicitation/telemarketing   telephone   calls    from
20                Defendant to said person’s cellular telephone made
                  through the use of any automatic telephone dialing
21                system or an artificial or prerecorded voice and such
22                person had not previously consented to receiving such
                  calls within the four years prior to the filing of this
23
                  Complaint
24
25         18.    The class concerning the ATDS claim for revocation of consent, to
26   the extent prior consent existed (hereafter “The ATDS Revocation Class”) is
27   defined as follows:
28
                  All persons within the United States who received any


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 1                solicitation/telemarketing     telephone      calls    from
                  Defendant to said person’s cellular telephone made
 2                through the use of any automatic telephone dialing
 3                system or an artificial or prerecorded voice and such
                  person had revoked any prior express consent to receive
 4
                  such calls prior to the calls within the four years prior to
 5                the filing of this Complaint.
 6
           19.    Plaintiff represents, and is a member of, The ATDS Class, consisting
 7
     of all persons within the United States who received any solicitation telephone
 8
     calls from Defendant to said person’s cellular telephone made through the use of
 9
     any automatic telephone dialing system or an artificial or prerecorded voice and
10
     such person had not previously not provided their cellular telephone number to
11
     Defendant within the four years prior to the filing of this Complaint.
12
           20.    Plaintiff represents, and is a member of, The ATDS Revocation
13
     Class, consisting of all persons within the United States who received any
14
     solicitation/telemarketing telephone calls from Defendant to said person’s cellular
15
     telephone made through the use of any automatic telephone dialing system or an
16
     artificial or prerecorded voice and such person had revoked any prior express
17
     consent to receive such calls prior to the calls within the four years prior to the
18
     filing of this Complaint.
19
           21.    Defendant, its employees and agents are excluded from The Classes.
20
     Plaintiff does not know the number of members in The Classes, but believes The
21
     Classes members number in the thousands, if not more. Thus, this matter should
22
     be certified as a Class Action to assist in the expeditious litigation of the matter.
23
           22.    The Classes are so numerous that the individual joinder of all of its
24
     members is impractical. While the exact number and identities of The Classes
25
     members are unknown to Plaintiff at this time and can only be ascertained
26
     through appropriate discovery, Plaintiff is informed and believes and thereon
27
     alleges that The Classes include thousands of members. Plaintiff alleges that The
28
     Classes members may be ascertained by the records maintained by Defendant.


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 1         23.    Plaintiff and members of The ATDS Class and The ATDS
 2   Revocation Class were harmed by the acts of Defendant in at least the following
 3   ways: Defendant illegally contacted Plaintiff and ATDS Class members via their
 4   cellular telephones thereby causing Plaintiff and ATDS Class and ATDS
 5   Revocation Class members to incur certain charges or reduced telephone time for
 6   which Plaintiff and ATDS Class and ATDS Revocation Class members had
 7   previously paid by having to retrieve or administer messages left by Defendant
 8   during those illegal calls, and invading the privacy of said Plaintiff and ATDS
 9   Class and ATDS Revocation Class members.
10         24.    Common questions of fact and law exist as to all members of The
11   ATDS Class which predominate over any questions affecting only individual
12   members of The ATDS Class. These common legal and factual questions, which
13   do not vary between ATDS Class members, and which may be determined
14   without reference to the individual circumstances of any ATDS Class members,
15   include, but are not limited to, the following:
16                a.     Whether, within the four years prior to the filing of this
17                       Complaint, Defendant made any telemarketing/solicitation call
18                       (other than a call made for emergency purposes or made with
19                       the prior express consent of the called party) to a ATDS Class
20                       member using any automatic telephone dialing system or any
21                       artificial or prerecorded voice to any telephone number
22                       assigned to a cellular telephone service;
23                b.     Whether Plaintiff and the ATDS Class members were
24                       damaged thereby, and the extent of damages for such
25                       violation; and
26                c.     Whether Defendant should be enjoined from engaging in such
27                       conduct in the future.
28         25.    As a person that received numerous telemarketing/solicitation calls


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 1   from Defendant using an automatic telephone dialing system or an artificial or
 2   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
 3   claims that are typical of The ATDS Class.
 4         26.    Common questions of fact and law exist as to all members of The
 5   ATDS Revocation Class which predominate over any questions affecting only
 6   individual members of The ATDS Revocation Class. These common legal and
 7   factual questions, which do not vary between ATDS Revocation Class members,
 8   and which may be determined without reference to the individual circumstances
 9   of any ATDS Revocation Class members, include, but are not limited to, the
10   following:
11                a.    Whether, within the four years prior to the filing of this
12                      Complaint, Defendant made any telemarketing/solicitation call
13                      (other than a call made for emergency purposes or made with
14                      the prior express consent of the called party) to an ATDS
15                      Revocation Class member, who had revoked any prior express
16                      consent to be called using an ATDS, using any automatic
17                      telephone dialing system or any artificial or prerecorded voice
18                      to any telephone number assigned to a cellular telephone
19                      service;
20                b.    Whether Plaintiff and the ATDS Revocation Class members
21                      were damaged thereby, and the extent of damages for such
22                      violation; and
23                c.    Whether Defendant should be enjoined from engaging in such
24                      conduct in the future.
25         27.    As a person that received numerous telemarketing/solicitation calls
26   from Defendant using an automatic telephone dialing system or an artificial or
27   prerecorded voice, after Plaintiff had revoked any prior express consent, Plaintiff
28   is asserting claims that are typical of The ATDS Revocation Class.


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 1         28.     Plaintiff will fairly and adequately protect the interests of the
 2   members of The Class.        Plaintiff has retained attorneys experienced in the
 3   prosecution of class actions.
 4         29.     A class action is superior to other available methods of fair and
 5   efficient adjudication of this controversy, since individual litigation of the claims
 6   of all Classes members is impracticable. Even if every Classes member could
 7   afford individual litigation, the court system could not. It would be unduly
 8   burdensome to the courts in which individual litigation of numerous issues would
 9   proceed. Individualized litigation would also present the potential for varying,
10   inconsistent, or contradictory judgments and would magnify the delay and
11   expense to all parties and to the court system resulting from multiple trials of the
12   same complex factual issues. By contrast, the conduct of this action as a class
13   action presents fewer management difficulties, conserves the resources of the
14   parties and of the court system, and protects the rights of each Classes member.
15         30.     The prosecution of separate actions by individual Classes members
16   would create a risk of adjudications with respect to them that would, as a practical
17   matter, be dispositive of the interests of the other Classes members not parties to
18   such adjudications or that would substantially impair or impede the ability of such
19   non-party Class members to protect their interests.
20         31.     Defendant has acted or refused to act in respects generally applicable
21   to The Class, thereby making appropriate final and injunctive relief with regard to
22   the members of the Class as a whole.

23                             FIRST CAUSE OF ACTION

24          Negligent Violations of the Telephone Consumer Protection Act

25                                     47 U.S.C. §227(b).

26               On Behalf of the ATDS Class and ATDS Revocation Class

27         32.     Plaintiff repeats and incorporates by reference into this cause of

28
     action the allegations set forth above at Paragraphs 1-31.



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 1         33.    The foregoing acts and omissions of Defendant constitute numerous
 2   and multiple negligent violations of the TCPA, including but not limited to each
 3   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in
 4   particular 47 U.S.C. § 227 (b)(1)(A).
 5         34.    As a result of Defendant’s negligent violations of 47 U.S.C. §
 6   227(b), Plaintiff and the Class Members are entitled an award of $500.00 in
 7   statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 8   227(b)(3)(B).
 9         35.    Plaintiff and the Class members are also entitled to and seek
10   injunctive relief prohibiting such conduct in the future.
11                           SECOND CAUSE OF ACTION
12    Knowing and/or Willful Violations of the Telephone Consumer Protection
13                                           Act
14                                   47 U.S.C. §227(b)
15           On Behalf of the ATDS Class and the ATDS Revocation Class
16         36.    Plaintiff repeats and incorporates by reference into this cause of
17   action the allegations set forth above at Paragraphs 1-31.
18         37.    The foregoing acts and omissions of Defendant constitute numerous
19   and multiple knowing and/or willful violations of the TCPA, including but not
20   limited to each and every one of the above cited provisions of 47 U.S.C. §
21   227(b), and in particular 47 U.S.C. § 227 (b)(1)(A).
22         38.    As a result of Defendant’s knowing and/or willful violations of 47
23   U.S.C. § 227(b), Plaintiff and the Class members are entitled an award of
24   $1,500.00 in statutory damages, for each and every violation, pursuant to 47
25   U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
26         39.    Plaintiff and the Class members are also entitled to and seek

27   injunctive relief prohibiting such conduct in the future.

28   ///



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 1                              PRAYER FOR RELIEF
 2    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 3                           FIRST CAUSE OF ACTION
 4         Negligent Violations of the Telephone Consumer Protection Act
 5                               47 U.S.C. §227 et seq.
 6              As a result of Defendant’s negligent violations of 47 U.S.C.
 7               §227(b)(1), Plaintiff and the Class members are entitled to and
 8               request $500 in statutory damages, for each and every violation,
 9               pursuant to 47 U.S.C. 227(b)(3)(B);
10              An order for injunctive relief prohibiting such conduct by
11               Defendants in the future; and
12              Any and all other relief that the Court deems just and proper.
13                         SECOND CAUSE OF ACTION
14   Knowing and/or Willful Violations of the Telephone Consumer Protection Act
15                               47 U.S.C. §227 et seq.
16              As a result of Defendant’s willful and/or knowing violations of 47
17               U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
18               and request treble damages, as provided by statute, up to $1,500, for
19               each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and
20               47 U.S.C. §227(b)(3)(C);
21              An order for injunctive relief prohibiting such conduct by
22               Defendants in the future; and

23              Any and all other relief that the Court deems just and proper.

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 1                                    JURY DEMAND
 2         40.    Pursuant to her rights under the Seventh Amendment to the United
 3   States Constitution, Plaintiff demands a jury on all issues so triable.
 4
 5         Respectfully Submitted this 30th day of August, 2018.
 6                             LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 7
                                    By: /s Todd M. Friedman
                                        Todd M. Friedman
 8                                      Law Offices of Todd M. Friedman
 9                                      Attorney for Plaintiff
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